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                             Exhibit 5
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          2       ZHEJIANG HUAHAI PHARMACEUTICAL CO., LTD.


          Module: 3           Quality
                                        Valsartan, USP (Process IT)                       Confidential
                                                                                          Version: US-02.1
          Module: 3.2.8       Drug Substance                                              Date: 2013-11-10
          Module: 3.2.8.3     Characterisation
          Module: 3.2.8.3.2   Impurities       —

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          @   Discussion about Genotoxici

              Summary
              The EMEA CHMP guideline on the Limits of Genotoxic Impurities (EME/CHMP/
              QWP/251344/2006) effective as of 01 January 2007 and FDA draft guideline “Genotoxic
              and Carcinogenic Impurities in Drug Substances and Products: Recommended Approaches”
              is applicable to the applications for existing active substances.

              According to the directed TTC rule (“Guideline on the limits of genotoxic impurities”), the
              concentration limits in ppm of genotoxic impurity in drug substance derived from the TTC
              can be calculated based on the expected daily dose to the patient using equation:


                                                    TTCLug day]
                     Concentration limit     m)=
                                                   “ose (d/day)
              Because the maximum dosage for Valsartan is 320 mg/day, it is introduced in this equation
              “dose” with safety, and any potentially genotoxicity impurity (PGIs) in drug substance
              concluded an acceptable limit of 4.7 ppm.


                     Concentration limit (ppm)= TTC[ug/day]         =
                                                                     1.5ug/day 4.6875ppm
                                                                                    _



                                                     dose(d/day)        320mg/day

              We discuss the genotoxic risk of the impurities from the following categories:

                     —




                         Organic impurities
                     —


                         Residual solvents
                     —

                         Substances not discussed




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